IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT GREENVILLE

THE PRUDENTIAL INSURANCE COM]’ANY )
OF AMERICA,

PlaintiH`,

v. Case No.

\-/\_/‘~_/\_/\_/\_/

JOANNE J. CRAIG, BARBARA PARR-LOPEZ, )
and SNYDER’S M]L`MORAL GARDENS, INC., )

)
Defendants. )

COMPLAINT
Plaintiff, The Prudential Insurance Company of Amerioa (“Prudential”), for its Complaint
alleges as follows:

PARTIES

l. Prudential is an insurance company organized and existing under the laws of the
State of New Jersey With its principal place of business in NeW Jersey. Prudential is duly
authorized to do business in the States of Florida and Tennessee.

2. Upon information and belief, John E. Parr (the “Insured”) Was a resident of
Rogersville, Tennessee.

3. Upon information and belief, the Insured’s ex-Wit`e, Joanne J. Craig, formerly
Joanne J. Parr, (“Joanne Craig”)' has a mailing address of 2657 Lenox Road, #100, Atlanta, GA
30324.

4. Upon information and belief, the Insured’s daughter, Barbara Parr-Lopez, has a

mailing address of 1351 SE Buckingham Terrace, Port St. Lueie, FL 34952-4101.

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5. Upon information and belief, Snyder’s Memorial Gardens, Inc. is a Tennessee
corporation and funeral horne business With a registered agent designated as Farrell Lee Snyder,
5913 Kingsport Highway., P.O. Box 8561, Gray, TN 37615.

l JURISDICTION AND VENUE

6. This Court has jurisdiction under 28 U.S. C. § 1332, in that the parties are of
diverse citizenship and the amount in controversy exceeds $75,000.00. Prudential is a NeW
Jersey citizen for diversity purposes, and upon information and belief, the defendants are citizens
of Georgia, Florida, and Tennessee.

71 This Court also has jurisdiction under 28 U.S.C. § 1335, in that the adverse
claimants are of diverse citizenship and the amount in controversy exceeds $500.00. There is
minimal diversity between the claimants under State Farm Fire & Casuaitv Co. v. Tashire, 386
U.S. 523 (1967).`

8. Venue is proper in this district pursuant to 28 U.S.C § l39l(b)(2) in that a
substantial portion of the events giving rise to the claims asserted herein occurred in this District.

9. Venue is also proper in this district pursuant to 28 U.S.C. § 1397 because one or
more of the claimants reside in this judicial district

CAUSE OF ACTION IN INTERPLEADER

10. On or about January i, 2003, While the Insured Was a resident of Florida,
Prudential issued Individual Life Insurance Policy Number B51()2639, on the life of the Insured
(the “Policy”).

ll. By Request to Change Beneficiary form dated July 25, 2008, the Insured

designated his then-Wife, Joanne Parr (now Joanne Craig), as the soie primary beneficiary of the

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Policy. A true and correct copy of the July 25, 2008 Request to Change Beneficiary form is
attached hereto as EXhibit A.

12. Upon information and belief, the Insured and Joanne Craig Were divorced by
Judgment entered on August 9, 2010. A true and correct copy of the Divorce Judgment is
attached hereto as Exhibit B.

13. Upon information and belief, by Request to Change Beneficiary form dated June
29, 2010, the Insured designated his daughter, Barbara Parr-Lopez, as the sole Primary
Beneficiary of the Policy. A true and correct copy of the Request to Change Beneticiary form
dated June 29, 2010 is attached hereto as Exhibit C.

14. Upon information and belief, the Insured died on or about August 28, 2010 as a
result of end stage liver disease and other ailments. A true and correct copy of the Death
Certificate of the Insured is attached hereto as Exhibit D.

15. As a result of the death of the Insured, Policy death benefits in the amount of
$95,300.81 became due and payable to a beneficiary or beneficiaries (the “Death Benefit”) and
liability is conceded to that effect

16. By faxed letter dated August 26, 2010, Joanne Craig made a claim for the Death
Benefit and requested a “restriction” on the Policy based on the alleged applicability of the
Notice of Termination, Which purportedly prevented the Insured from changing the beneficiary
of the Policy prior to August 10, 2010. A true and correct copy of the August 26, 2010 letter is
attached hereto as Exhibit E.

17. By Insurance Assignment form dated August 30, 2010, Barbara Parr-Lopez
assigned $1,603.13 of the Death Benefit to Snyder’s Memorial Gardens. A true and correct copy

of the Insurance Assignment form dated August 30, 2010 is attached hereto as Exhibit F.

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18. By Life Insurance Death Beneiits Claim Form dated August 30, 2010, Barbara
Parr-Lopez made a claim to the Death Benefit. A true and correct copy of the Life Insurance
'Death Benef'rts Claim Form dated August 30, 2010 is attached hereto as Exhibit G.

19. There have been no other claims for the Death Beneflt. Under the circumstances,
Prudential cannot determine factually or legally who is entitled to the Death Benefit. By reason
of the actual or potential claims of the interpleading defendants, Prudential is or may be exposed
to multiple liability.

20. Prudential is ready, willing and able to pay the Death Benefit, plus claim interest,
if any, payable in accordance with the terms of the Policy to whomever this Court shall
designate

21. As a mere stakeholder, Prudential has no interest (except to recover its attorneys’
fees and cost of this action) in the Death Benefit payable and respectfully requests that this Court
determine to whom said benefits should be paid.

22. Prudential accordingly will deposit into the Court the Death Benefit, plus claim
interest, if any, for disbursement in accordance With the judgment of this Court.

23. Prudential has not brought this Complaint in Interpleader at the request of any of
the Defendants. There is no fraud or collusion between Prudential and any of the Defendants.
Prudential brings this Complaint of its own free Will and to avoid being vexed and harassed by
conflicting and multiple claims

WHEREFORE, Prudential prays that the Court enter judgment

(a) requiring the Defendants to answer this Complaint and litigate their claims
between themselves for the Death Benefit;

(b) enjoining the Defendants from instituting or prosecuting any proceeding in any
state or United States court affecting the Policy and/or the Death Benefit;

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requiring that the Defendants settle and adjust between themselves, or upon their
failure to do so, this Court settle and adjust the claims and determine to whom the
Death Benetit should be paid;

permitting Prudential to deposit the amount of the Death Benefit, plus claim
interest, if any, into the Court or as this Court otherwise directs to be subject to
the order of this Court and to be paid out as this Court shall direct;

discharging Prudential from any and all further liability to Defendants relating in

_ any way to the Policy and/or the Death Benetit upon payment of the Death

Benefit into the Registry of this Court or as otherwise directed by this Court;
awarding Prudential its attorneys’ fees and costs in their entirety; and

awarding Prudential any other and further relief that this Court deems just and
proper.

Respectinlly submitted,

MILLER & MARTIN PLLC

s/ David L. Johnson .

David L. Johnson (#18732)

1200 One Nashville Place

150 Fourth Avenue, North
Nashville, Tennessee 37219-2433
'l`elephone: (615) 244~9270

dlj ohnson@millermartin.com

Counselfor PlaintWThe Prudentl`al

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